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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 ROVER PIPELINE LLC,

              Plaintiff,                               Case No. 2:17-cv-105

       v.                                              JUDGE ALGENON L. MARBLEY

 MARK C. KANZIGG, et al,                               Magistrate Judge Jolson

              Defendants.


            ORDER DISMISSING CLAIMS AGAINST SCOTT SHEVELOW

       This matter comes before the Court on a Joint Motion to Dismiss Claims Against

 Defendant Scott Shevelow (ECF No. 765). For good cause shown, the Court GRANTS the

 Motions and DISMISSES the claims against Mr. Shevelow without prejudice.



        IT IS SO ORDERED.



                                            s/Algenon L. Marblev
                                          ALGENON L. MARBLEY
                                          UNITED STATES DISTRICT JUDGE

 DATED: June 29,2018
